                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


    In re:                                                       Chapter 11

    REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-CRJ11
    et al.,1
                                                                 Jointly Administered
                                Debtors.


           NOTICE OF FILING SECOND AMENDED EXHIBIT C TO DEBTORS’
               MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
            AUTHORIZING THE EMPLOYMENT AND COMPENSATION OF
         PROFESSIONALS UTILIZED IN THE ORDINARY COURSE OF BUSINESS

             COME NOW, Remington Outdoor Company, Inc. and its affiliated debtors, as debtors

and debtors-in-possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases,

by and through undersigned counsel, and submit the attached amended Exhibit C to Debtors’

Motion for Entry of Interim and Final Orders Authorizing the Employment and Compensation of

Professionals Utilized in the Ordinary Course of Business [Docket No. 13]. Exhibit C is amended

to move Ernst & Young, LLP from the “Monthly/Recurring Ordinary Course Professionals” to the

“Audit and Tax Professional Services Required from Petition Date to Plan Effective Date.”

             Respectfully submitted, this the 10th day of August, 2020.

                                                    /s/ Derek F. Meek
                                                    BURR & FORMAN LLP
                                                    Derek F. Meek
                                                    Hanna Lahr
                                                    420 20th Street North, Suite 3400
                                                    Birmingham, AL 35203
                                                    Telephone:      (205) 251-3000
                                                    Facsimile:      (205) 458-5100
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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
(3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
AL 35824.

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                                  Email: dmeek@burr.com
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                                  - and -

                                  O’MELVENY & MYERS LLP
                                  Stephen H. Warren (admitted pro hac vice)
                                  Karen Rinehart (admitted pro hac vice)
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                                  Attorneys for the Debtors and Debtors in Possession




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                          Second Amended Exhibit C




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Remington Outdoor Company, Inc.
Schedule of Ordinary Course Professionals
Monthly / Recurring Ordinary Course Professionals
                  Provider Name                                                    Vendor Address                                       Service(s) Provided
ANGEION GROUP LLC                                   1801 MARKET STREET, SUITE 660, PHILADELPHIA, PA 19103            Product Liability Support Firm
BAKER BOTTS                                         910 LOUISIANA STREET, HOUSTON, TX 77002                          Special Counsel (International Sales)
BLACKBURN & STOLL LLC                               257 EAST 200 SOUTH, SUITE 800, SALT LAKE CITY, UT 84111          Personal Injury Counsel
DAY PITNEY LLP                                      1 JEFFERSON ROAD, PARSIPPANY, NJ 07054-2833                      Product Liability Counsel
FRIDAY, ELDREDGE & CLARK                            400 W CAPITOL, LITTLE ROCK, AR 72201                             Product Liability Counsel
JACKSON LEWIS, LLP                                  75 PARK PLAZA, BOSTON, MA 02116                                  Union and Employee Matters
MAYNARD COOPER & GALE PC                            1901 6TH AVENUE NORTH, SUITE 2400, BIRMINGHAM, AL 35203-2602     State Incentives Counsel
NELSON MULLINS RILEY & SCARBOROUGH                  1320 MAIN STREET, 17TH FLOOR, COLUMBIA, SC 29201                 eDiscovery Services
ORCHID ADVISORS LLC                                 40 WEST HILLS DRIVE, AVON, CT 6001                               Compliance Counsel
PROFILE ADVISORS LLC                                405 LEXINGTON AVE, SUITE 915, NEW YORK, NY 10174                 Public Relations
RAMBOLL ENVIRON                                     4350 FAIRFAX DRIVE, SUITE 300, ARLINGTON, VA 22203               Environmental Consultant
REED SMITH LLP                                      225 FIFTH AVENUE, PITTSBURGH, PA 15222                           Insurance Counsel
SHOOK, HARDY & BACON, LLP                           2555 GRAND BOULEVARD, KANSAS CITY, MO 64108                      Product Liability Counsel
SWANSON MARTIN & BELL                               330 NORTH WABASH AVE - STE 3300, CHICAGO, IL 60611               Product Liability Counsel
WILMER & LEE P A                                    100 WASHINGTON STREET, SUITE 100, HUNTSVILLE, AL 35801           Workers Comp. and Employee Matters Counsel
WOMBLE BOND DICKSON                                 ONE WELLS FARGO CENTER, SUITE 3500, CHARLOTE, NC 28202           Special Counsel (Patents, trademarks, benefits, etc.)

Other Product Liability Related Counsel
BINGHAM GREENEBAUM DOLL LLP                         10 WEST MARKET STREET, INDIANAPOLIS, IN 46204                    Product Liability Counsel
BUTLER, SNOW, O'MARA, STEVENS                       1020 HIGHLAND COLONY PKWY., SUITE 1400, RIDGELAND, MS 39157      Product Liability Counsel
DICKINSON WRIGHT PLLC                               2600 WEST BIG BEAVER RD, SUITE 300, TROY, MI 48084               Product Liability Counsel
CLAYTON UTZ                                         1 BLIGHT STREET, SYDNEY, NEW SOUTH WALES                         Product Liability Counsel
CORETTE BLACK CARLSON & MICKELSON                   129 WEST PARK STREET, SUITE 301, BUTTE, MT 59701                 Product Liability Counsel
GRAY REED & MCGRAW LLP                              1300 POST OAK BOULEVARD #2000, HOUSTON, TX 77056                 Product Liability Counsel
HUNTER MACLEAN EXLEY & DUNN PC                      200 EAST ST JULIAN STREET, SAVANNAH, GA 31401                    Product Liability Counsel
IRWIN FRITCHIE URQUHART & MOORE LLC                 400 POYDRAS STREET, SUITE 2700, NEW ORLEANS, LA 70130            Product Liability Counsel
LIGHTFOOT,FRANKLIN, & WHITE LLC                     400 20TH STREET NORTH, BIRMINGHAM, AL 35203-3200                 Product Liability Counsel
MCGINNIS LOCHRIDGE AND KILGORE LLP                  600 CONGRESS AVE, SUITE 2100, AUSTIN, TX 78701                   Product Liability Counsel
OHNSTAD TWICHELL PC                                 444 SHEYENNE STREET, SUITE 102, WEST FARGO, ND 58078             Product Liability Counsel
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POST & SCHELL PC                                    1600 JOHN F KENNEDY BOULEVARD, PHILADELPHIA, PA 19103            Product Liability Counsel
REMINGER CO LPA                                     200 CIVIC CENTER DRIVE, SUITE 800, COLUMBUS, OH 43215            Product Liability Counsel
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SNOW CHRISTENSEN & MARTINEAU                        10 EXCHANGE PLACE, 11TH FLOOR, SALT LAKE CITY, UT 84111          Product Liability Counsel
SPOTTS FAIN PC                                      411 E FRANKLIN STREET, SUITE 600, RICHMOND, VA 23219             Product Liability Counsel
THE LAW OFFICE OF ROBERT H ALEXANDER JR., PC        100 NORTH BROADWAY, P.O. BOX 868, OKLAHOMA CITY, OK 73101-0868   Product Liability Counsel
WYATT, TARRANT & COMBS, LLP                         500 WEST JEFFERSON STREET, SUITE 2800, LOUISVILLE, KY 40202      Product Liability Counsel
YOKA & SMITH LLP                                    445 SOUTH FIGUEROA ST - 38TH FL, LOS ANGELES, CA 90071           Product Liability Counsel

Audit and Tax Professional Services Required from Petition Date to Plan Effective Date
                   Provider Name                                                       Vendor Address                                  Service(s) Provided
DELOITTE TAX LLP                                     2200 ROSS AVE #1600, DALLAS, TX 75201                           Tax (Federal/State Returns)
GRANT THORNTON LLP                                   PO BOX 532019, ATLANTA, GA 30353-2019                           Auditor
KPMG, LLC                                            2323 ROSS AVE #1400, DALLAS, TX 75201                           Accounting and Valuation Services
ERNST & YOUNG, LLP                                   190 CARONDELET PLAZA, SUITE 1300, CLAYTON, MO 63105             Tax (Excise Tax)




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